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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    STEVEN JUDE,

                                   Plaintiff,

                       -against-                                      24-CV-8916 (PMH)

                                                                   ORDER OF SERVICE
    NEW YORK STATE DEPARTMENT OF
    CORRECTIONS, et al.,

                                   Defendants.

PHILIP M. HALPERN, United States District Judge:

        Plaintiff brings this action, pro se, under 42 U.S.C. § 1983, alleging that Defendants

violated his constitutional rights at Sullivan Correctional Facility. By order dated December 9,

2024, the Court granted Plaintiff’s request to proceed in forma pauperis (“IFP”), that is, without

prepayment of fees. On January 30, 2025, the Court issued an Order of Service with respect to the

named defendants Martuscello, Noeth, Diacaranio, Anthony Rodriguez, Shope, Donahue, Allen,

Sullivan, Savage, Bennett, Garber, Krom, Piazza, Bondarenka, Wilson, Reed, Bermudez, Murphy,

Coles, Joachin, Olsen, Fitzpatrick, Kinne, and Goodwin. On February 3, 2025, the New York

Attorney General’s Office identified the address for named defendant William Sherman.

        Because Plaintiff has been granted permission to proceed IFP, he is entitled to rely on the

Court and the U.S. Marshals Service to effect service.1 Walker v. Schult, 717 F.3d. 119, 123 n.6 (2d

Cir. 2013); see also 28 U.S.C. § 1915(d) (“The officers of the court shall issue and serve all process

. . . in [IFP] cases.”); Fed. R. Civ. P. 4(c)(3) (the court must order the Marshals Service to serve if

the plaintiff is authorized to proceed IFP).


1
 Although Rule 4(m) of the Federal Rules of Civil Procedure generally requires that a summons be served
within 90 days of the date the complaint is filed, Plaintiff is proceeding IFP and could not have effected
service until the Court reviewed the complaint and ordered that any summonses be issued. The Court
therefore extends the time to serve until 90 days after the date any summonses issue.
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        To allow Plaintiff to effect service on Defendant Sherman through the U.S. Marshals

Service, the Clerk of Court is instructed to fill out a U.S. Marshals Service Process Receipt and

Return form (“USM-285 form”) for Defendant Sherman. The Clerk of Court is further instructed

to issue summonses and deliver to the Marshals Service all the paperwork necessary for the

Marshals Service to effect service upon Defendant Sherman.

        If the complaint is not served within 90 days after the date summonses are issued, Plaintiff

should request an extension of time for service. See Meilleur v. Strong, 682 F.3d 56, 63 (2d Cir.

2012) (holding that it is the plaintiff’s responsibility to request an extension of time for service).

        Plaintiff must notify the Court in writing if his address changes, and the Court may dismiss

the action if Plaintiff fails to do so.

                                          CONCLUSION

        The Clerk of Court is instructed to issue a summons, complete the USM-285 form with the

address for Defendant Sherman, and deliver all documents necessary to effect service to the U.S.

Marshals Service.

        The Clerk of Court is directed to mail a copy of this order and the complaint to the New

York State Attorney General at: Managing Attorney’s Office, 28 Liberty Street, 16th Floor, New

York, NY 10005.

        The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would not

be taken in good faith, and therefore IFP status is denied for the purpose of an appeal. See United

States, 369 U.S. 438, 444–45 (1962).




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                                      SO ORDERED.


Dated:    White Plains, New York
          February 14, 2025
                                                  PHILIP M. HALPERN
                                                 United States District Judge




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               SERVICE ADDRESS FOR DEFENDANT


  1. William Sherman
     New York State Department of Corrections and Community Supervision
     Office of Counsel
     The Harriman State Campus,
     1220 Washington Avenue, Bldg 4
     Albany, NY 12226
